    Case 2:10-md-02179-CJB-DPC Document 4816-1 Filed 12/02/11 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater       *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April      *
   20, 2010                                      *   SECTION J
                                                 *
                                                 *
This document relates to:                        *   Honorable CARL J. BARBIER
                                                 *
   All cases                                     *   Magistrate Judge SHUSHAN
                                                 *

                                           ORDER

       Considering BP’s Ex Parte Motion for Leave to File a Sur-Reply to Halliburton’s Reply

to BP’s Opposition to Motion to Disqualify Michael Viator, Fred Sabins, and CSI Technologies,

Inc. and to Strike Expert Opinions (“Motion”),

        IT IS ORDERED that the Motion is GRANTED and that BP’s Sur-Reply is hereby filed

into the record of this matter.

       New Orleans, Louisiana, this ___ day of December, 2011.




                                            _______________________________________
                                            UNITED STATES MAGISTRATE JUDGE
